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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA                           JS-6
                                     CIVIL MINUTES - GENERAL
 Case No.        CV 23-9538 FMO (Ex)                                    Date    December 21, 2023
 Title           Katrina Benzova v. Guns N Roses, et al.



 Present: The Honorable           Fernando M. Olguin, United States District Judge
                Vanessa Figueroa                                        None Present
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                    None Present                                         None Present
 Proceedings:            (In Chambers) Order re: Consolidation

       Having reviewed the Stipulation for Consolidation of Cases, (Dkt.12, “Stipulation”), filed in
Gundam Touring Services US LLC, et al. v. Katrina Benzova, CV 23-8968 FMO (Ex) (“Gundam”),
by which the parties in Gundam and Katrina Benzova v. Guns N Roses, et al., CV 23-9538 FMO
(Ex) (“Benzova”) agree to consolidation of the actions, IT IS ORDERED THAT:

         1. The Stipulation (Document No. 12) is granted as set forth in this Order.

       2. Gundam, CV 23-8968 and Benzova, CV 23-9538 are hereby consolidated. The Clerk
shall consolidate these actions such that the earlier filed action, Gundam, CV 23-8968 is the lead
case. All future filings shall be filed in Gundam, CV 23-8968.

         3. A Consolidated Complaint shall be filed by no later than January 5, 2024.

        4. Defendants shall file their answers or Rule 12 motions pursuant to the Federal Rules
of Civil Procedure.

         5. The pending motions (Document No. 18 & 25) in Benzova, CV 23-9538 are denied as
moot.

         6. The Clerk shall administratively close Benzova, CV 23-9538.




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                                                        Initials of Preparer             vdr




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